     Case 4:06-cr-00346-YGR    Document 89    Filed 09/12/06          Page 1 of 1



 1                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF CALIFORNIA
 2                            SAN FRANCISCO DIVISION

 3

 4    UNITED STATES OF AMERICA

 5                Plaintiff,                           NO. CR 06-00346 DLJ

 6           v.                                        STIPULATION AND
                                                       TRAVEL ORDER
 7    BRENT TAGESON, et al.,

 8                Defendants.                 /

 9           THE UNDERSIGNED PARTIES HEREBY STIPULATE and agree that

10    defendant Brent Tageson may travel outside the Northern District

11    of California, from September 22, 2006 through September 24,

12    2006, to San Diego, California, for the purposes of attending a

13    wedding.    Brent Tageson will be traveling by car and agrees that

14    prior to traveling he must provide Pretrial Services with the

15    location at which he will be staying and contact information.

16           Pretrial Services Officer Paul Mamaril advised that Brent

17    Tageson is in full compliance with his conditions of release and

18    he has no objection to the requested travel plans, under the

19    conditions proposed herein.

20

21    /S/JAMES BUSTAMANTE                    /S/GEORGE BEVAN
      JAMES BUSTAMANTE                       GEORGE BEVAN
22    Attorney for Defendant TAGESON         Assistant U.S. Attorney
      Dated: September 8, 2006               Dated: September 11, 2006
23                                                       ISTRIC
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24           IT IS SO ORDERED.                    TA
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                                                             ORDER
25    Dated: September 12, 2006
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27                                                  Judge W
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                                             WAYNE D. BRAZIL
                                             RT




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28                                           U.S.
                                               E  Magistrate Judge
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